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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF FLORIDA

  -------------------------------------------------- X
                                                     :
                                                     :
                                                     :
                                                     :     Civil Action No.:
  BARRY COHEN,                                       :
                                                     :     COMPLAINT
                             Plaintiff               :
                       v.                            :
                                                     :     To remedy discrimination and retaliation on the basis of
                                                     :     Jewish Race/Ethnicity/Ancestry pursuant to 41 U.S.C.
  GOOGLE, LLC.,                                      :     Sec. 1981et. seq.
                            Defendant.               :
                                                           Jury Trial Demanded
                                                       :
                                                       :
 -----------------------------------------------------X



         Plaintiff, Barry Cohen, by and through his undersigned attorneys, complaining of

 Defendant, Google, LLC. (“Google”), brings the instant action requesting judgment in his favor,

 and against Defendant, and in support thereof, alleges, upon information and belief, as follows:

                                            NATURE OF ACTION

     1. Plaintiff, Barry Cohen, a Google account holder brings this lawsuit against Google, with

 whom he has been in contract, to remedy discriminatory conduct on the basis of

 race/ethnicity/ancestry and retaliation for complaining to Google for hateful speech posted on its

 site, in violation of Google’s own terms of service.

                                                       PARTIES

     2. Plaintiff, Barry Cohen, is an adult individual, residing at 3164 Medinah Circle East, Lake

 Worth, Florida 33467. At all times material hereto, Plaintiff maintained an account with Google,

 and by extension a contract with Google. As a Google user, Plaintiff maintained a business account
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 and Google email account for his business websites. Plaintiff owns the domains to aircleaners.com

 and zeolite.com, which he has maintained since 1994, and through which he has owned and

 managed a business, Absolute: Air Cleaners, Air Purifiers, and Allergy Products since 1989. His

 Google email account is niceguy4yourbud@gmail.com and his websites are on the “Go Daddy”

 server.

    3. Google is a corporation that, at all times relevant to the Complaint, was incorporated

 under the laws of the state of Delaware, with its principal place of business in Santa Clara

 County, California. Google is registered with the California Secretary of State for purposes of

 transacting business in California. Google services can be accessed around the world. Google is

 a worldwide platform that enables users to engage online with each other. On November 13,

 2006, Google acquired YouTube and now maintains the operation of this platform. Google

 contracts with users in all 50 states, including Florida.

                                    JURISDICTION AND VENUE

    4. The above paragraphs are incorporated herein by reference.

    5. Jurisdiction in this Honorable Court is based on federal question 28 U.S.C. §1331;

 supplemental jurisdiction over state law claims is granted by 28 U.S.C. §1367.

    6. Venue is proper in the Southern District of Florida, as the facts and transactions involved

 in the discrimination complained of herein occurred in large part in this judicial district in Palm

 Beach County, Florida, where Plaintiff maintains his business.

                                       STATEMENT OF FACTS

    7. The above paragraphs are incorporated herein by reference.

    8. Upon information and belief, Google engaged in intentional discriminatory actions

 against Mr. Cohen as a Jew.
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    9. Mr. Cohen has operated a Google account for many years, including webpages since

 1994 and an email account with Google during 2013.

    10. Almost 5 years ago on November 25, 2013, a discriminatory and hateful comment was

 posted a discriminatory and hateful comment was posted as a review about Mr. Cohen’s

 business.

    11. The reviewer posted the following on a Google review page for Plaintiff’s business:

 “Barry Cohen is a rude and arrogant person. Most unprofessional person I have ever spoken to
 actually. I honestly cannot believe I’m the first person to give him a negative review, yet not
 surprised at all. Terrible company and horrible prices. Absolute Air Cleaners will advertise that
 something is on sale but when you call he knows nothing about it. After holding his hand by
 directing him to his own website he says he can’t honor the price … Not the way to run a business!
 What a joke! I will continue to review this company on every site I find until he changes his
 attitude and way. TYPICAL “COHEN.”

    12. Plaintiff was alerted to the review on a Google directory by conducted a simple search for

 his own website and noticed the review.

    13. Plaintiff immediately responded to the post regarding the poor review of products and

 customer service. Plaintiff also responded that that he was “totally amazed that Google would

 allow [his] prejudiced antisemitic remarks in any section of their directory.”

    14. Plaintiff then complained to Google about the antisemitic nature of the post, but received

 no response. Plaintiff first contacted Google by phone, but received no response about his

 concern. At the time, no email was provided to contact Google with concerns.

    15. Plaintiff consistently continued to contact Google over the next four years by phone,

 email, and other customer service means, as they became available.

    16. Plaintiff appealed to customer relations about the account and received a response from

 one representative, by phone, that Google would consider the problem. Yet, the post was not
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 removed. Plaintiff continued to appeal via phone and email. The antisemitic review is still

 accessible online by conducting a simple Google search.

    17. Plaintiff continued to appeal, most recently on or about June 21, 2018, to Google services

 about the antisemitic nature of the post. Plaintiff wrote to Google that “the [s]entence statement

 “Typical Cohen” refers to my Jewish Religion in a negative hateful way and by your Google’s

 own policy is should be removed as quickly as possible … I guarantee that whoever looked at

 this has no idea that this comment is indeed hate speech and I urge you to have a few Jewish

 employees read this themselves and you will then see that my request to remove this review that

 has been up now for years even after my requests and reason to remove it is valid.”

    18. Google’s policy concerning hate speech is as follows: Google does not allow content that

 “promotes or condones violence against individuals or groups based on race or ethnic origin,

 religion, disability, gender, age, nationality, veteran status, or sexual orientation/gender identity,

 or whose primary purpose is inciting hatred on the basis of these core characteristics.”

    19. Google responded on or about June 22, 2018:

 “Hi from Google My Business support, thank you for your question about a review associated with
 your business listing on Google. The review cannot be removed since it was not found to be in
 violation of our policies. We understand how important it is to receive testimonials and reviews
 from your customers, and how positive feedback can boost your business potential. Enforcing
 these guidelines helps maintain high quality information on Google and improves how customers
 interact with businesses online.”

    20. On or about April 2018, Google suspended Plaintiff’s YouTube account. Plaintiff

  appealed the decision numerous times, including on July 5, 2018, and noted that the without

  access to his account, his business would be significantly damaged. Plaintiff also inquired as to

  the reason for the suspension. Plaintiff continued to email and call asking for the suspension to

  be lifted approximately 6-8 times.
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    21. On or about July 5, 2018, Google’s YouTube team responded briefly: “we have decided

  to keep your account suspended based on our Community Guidelines and Terms of Service …

  Please do not respond to this email. Replies to this email will not be processed. Please refer to

  our Help Center for more information.”

    22. Plaintiff is prevented from posting business videos and answering questions in the

  YouTube comment section. He is unable to answer questions from potential clients or interject

  information about the videos that have been posted.

    23. On one occasion, Plaintiff called the Google My Business department to have the

  problem investigated. A service provider said he could find no record as to why the account

  was suspended.

    24. Plaintiff’s account on YouTube continues to be suspended and the antisemitic review on

  Plaintiff’s Business account continues to be present. Google has neither taken actions to

  remove the antisemitic post and restore Plaintiff’s access on YouTube, nor explained why the

  account was suspended in the first place.


                                   STATEMENT OF CLAIMS

                                            COUNT I.
  42 U.S.C. SEC. 1981 DISCRIMINATION IN THE MAKING AND ENFORCEMENT OF
                   CONTRACTS BASED UPON JEWISH ETHNICITY
                           Plaintiff v. Defendant Google, LLC.

    25. The above paragraphs are incorporated herein by reference.

    26. The foregoing actions of Defendant violated Plaintiffs' rights pursuant to 42 USC Sec.

 1981, which provides, in pertinent part, as follows:

 § 1981. Equal rights under the law 
     (a) Statement of equal rights All persons within the jurisdiction of the United States shall
 have the same right in every State and Territory to make and enforce contracts.... as is enjoyed
 by white citizens, and shall be subject to like punishment, pains, penalties, taxes, licenses, and
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 exactions of every kind, and to no other.

     (b) “Make and enforce contracts” defined
     For purposes of this section, the term “make and enforce contracts” includes the making,
 performance, modification, and termination of contracts, and the enjoyment of all benefits,
 privileges, terms, and conditions of the contractual relationship.

     (c) Protection against impairment 
     The rights protected by this section are protected against impairment by nongovernmental
 discrimination and impairment under color of State law. Id. (emphasis added).

     27. Google evidenced a settled intent to discriminate against Plaintiff by interfering with

 Plaintiff’s rights to the performance and enjoyment of the benefits of his contract with Google

 and the maintenance of his Google account.

     28. Google wrongfully targeted Plaintiff on the basis of his Jewish ancestry and ethnicity, on

 the basis of race, intentionally.

     29. Google intentionally restricted the Plaintiff’s contractual benefits based upon illicit

 discrimination.

     30. The aforesaid conduct of Google was intentional and undertaken in reckless disregard for

 the federally protected civil rights of Plaintiff.

     31. Google also retaliated against Plaintiffs for raising Complaints.

     32. As a result of the said violation of 42 U.S.C. § 1981, Plaintiff has suffered discrimination,

 humiliation, embarrassment, and other harms, and is entitled to entry of judgment in his favor,

 and against Defendant, together with an award of declaratory and injunctive relief, damages, and

 ancillary relief as provided by 42 U.S.C. § 1988.

                                                      COUNT III.
                                                      Retaliation

     33. The above paragraphs are incorporated herein by reference.
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    34. Google retaliated against Plaintiff by suspending his YouTube account for raising

 complaints about the antisemitic posts.

    35. The foregoing actions of Google were severe and pervasive and in violation of Google’s

 own terms of service.


                                     PRAYER FOR RELIEF

    WHEREFORE, Plaintiffs respectfully requests that this Honorable Court enter judgment in

 favor of Plaintiff and against Google, and Order the following relief:

    a. A declaratory judgment declaring that Google has illegally discriminated against

        Plaintiff;

    b. Reinstatement of Plaintiff’s accounts on Google provided services, such as YouTube;

    c. Declaring the acts and practices complained of herein are in violation the 42 U.S.C. Sec.

        1981;

    d. Enjoining and permanently restraining the aforesaid violations;

    e. An appropriate order directing and requiring the cessation of all acts of proscribed racial
       discrimination as required pursuant to 42 U.S.C. § 1981, including but not limited to a
       civil rights monitor or trustee, and for such further or additional relief as is appropriate in
       the interests of justice.  

    f. Payment of compensatory and punitive damages, to Plaintiff in an amount to be

        determined at trial; and,

    g. An award of Plaintiff’s attorneys’ fees and costs of suit as provided by 42 U.S.C. Sec.

        1981.

    h. Such other relief as this honorable Court deems just and proper.

                                                JURY DEMAND

    Plaintiffs hereby demand a jury trial as to all issues so triable herein.
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 Respectfully submitted this _1st _ of November, 2018.

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 By:____//S//Richard Caldwell_______________
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